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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                         : CRIMINAL NO. 3:18-CR-28 (JAM)

                     vs.                          :

 BARTON STUCK                                     : May 20, 2021



               DEFENDANT’S SUPPLMENTAL SENTENCING SUBMISSION


       In further support of the non-incarceratory sentence proposed in Defendant’s principal

sentencing memorandum (Doc. 74), Defendant submits the accompanying letters as Exhibits 6 – 8.

As noted in the third addendum to the PSR, since the start of the Covid-19 pandemic, Mr. Stuck has

been residing with friends from his church community. In the letter attached as Exhibit 6, his

housemate Jessica Partch shares that “Mr. Stuck has been a good housemate since April 2020. He

pays for all of our utilities and other necessities with his Social Security and he frequently takes me

on errands and other outings. For example, we all go for walks together at Sherwood Island in

Westport every day. He is also a supportive and caring friend to his grown son, Emil. We are

grateful to have them both in our lives.”

       Marjorie Partch, Jessica’s sister who also lives in the house, similarly shares that “In the past

year, Bart has been deeply committed to our general wellbeing, and we have become a family. The

only thing that ever competes with Bart's concern for my sister and me is his concern for his

troubled but very likeable adult son, who we have also grown fond of. We hope for the best for

Emil, often stretching our limited resources even further for his current needs, and he helps us in

numerous ways in turn.” Exhibit 7.
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       Bart’s son Emil, who’s own life path has been detailed in the Presentence Report, reflects in

Exhibit 8 that “I have now finished all of my legal obligations and intend to get on with my life.

My father, Bart Stuck, was always there for me throughout all of my legal issues in every hearing,

and helped me to work through my mental and psychological trauma issues.”

       Like the rest of the country, Bart has spent the past year largely in isolation, venturing out of

his shared home mostly only for walks on the shoreline. In light of his age (he is now 74 years old),

Bart has taken even more precautions amid the pandemic than many others have had to. To the

extent that any deprivation of liberty is called for in this case, it can be best accomplished through a

period of home confinement—a sanction that carries particular sting as the world slowly opens up

after a year of universal quasi-home confinement.

       Finally, Defendant notes that while the third PSR addendum reflects Mr. Stuck’s hope of

future income, Mr. Stuck acknowledges that this hope is only that—a hope. As the PSR further

reflects, Mr. Stuck subsists on social security income, which he uses to support not only himself,

but his housemates as well.


                                              Respectfully submitted,

                                              THE DEFENDANT,
                                              Barton Stuck

                                              OFFICE OF THE FEDERAL DEFENDER

Dated: May 20, 2021                           /s/ James P. Maguire
                                              James P. Maguire
                                              Assistant Federal Defender
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                                              New Haven, CT 06510
                                              Phone: (203) 498-4200
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 20, 2021, a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent to
all parties by operation of the Court’s electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing through
the Court’s CM/ECF System.

                                                       s/ James P. Maguire
                                                       James P. Maguire




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                     EXHIBIT
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                                     Jessica Partch

                                  Norwalk, CT 06854


                                                                           May 12, 2021

To Whom It May Concern:
I have known Bart Stuck as a close friend for more than a year. I first met him through
my sister, Marjorie Partch , who has known him for several years through the Unitarian
Church in Westport, CT.
Mr. Stuck has been a good housemate since April 2020. He pays for all of our utilities
and other necessities with his Social Security and he frequently takes me on errands
and other outings. For example, we all go for walks together at Sherwood Island in
Westport every day.
He is also a supportive and caring friend to his grown son, Emil. We are grateful to
have them both in our lives.


Yours truly,

 ~ ~~
Jessica Partch
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                     EXHIBIT
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                                         Marjorie Partch

                                       Norwalk, CT 06854


                                                                                     May 12, 2021
To Whom It May Concern:
I have been involved with the Unitarian Church in Westport since 2003, when I moved back
home (from NYC and Vermont) to care for my mother following my father's death and her
"mini-stroke." My parents were married in the Unitarian Church in Manhattan in 1952, and I
grew up in and around the Brooklyn Heights congregation. When my family moved to
Rowayton in 1968, my mother went back to graduate school to become a high school English
teacher, and she re-discovered the "American Transcendentalists" and created a new elective
based on the work of Emerson, Thoreau, the Alcotts, Theodore Parker, et al., with Whitman and
Dickinson as the resident mystics. Following my own ordination in another tradition, I became
an active "lay leader" in the church, organizing Interfaith Labyrinth Walks for World Peace and
similar meditative activities under the rubric of the "Interfaith Sacred Activism" program that I
founded in 2006, marking the fifth anniversary of 9/11.
It is hard for me to remember exactly when I met Bart Stuck for the first time. It is probably safe
to say that it was at least 15 years ago. He has been active in our church since 1998, when he
and his former wife were looking for a spiritual home for their adopted son from Bulgaria
("Emil") and found one for themselves as well. I knew Bart to be a high tech and high finance
guy, active in numerous fundraising efforts for the church, and I was pleasantly surprised when
he showed any interest at all in my more meditative offerings. I was even more pleasantly
surprised to learn, gradually, that he was also a deep meditator and student of Buddhism himself,
as well as a high-level mathematician with four degrees from MIT and a lot of experience in
physics and electrical engineering. Coincidentally, that was my parents' background as well as
English, both of which I absorbed by osmosis. My father went to the Bronx High School of
Science, and my mother worked at the Brooklyn Polytechnic Institute. I personally veered away
from the sciences, although I worked for a few years as a scientific and medical proofreader in
NYC, ultimately becoming a Jungian Astrologer in my 30s.
Bart and I have found surprising beloved books in common, such as The Tao of Physics: An
Exploration ofthe Parallels Between Modern Physics and Eastern Mysticism (Fritjof Capra,
1975); Hamlet's Mill; and On Growth and Form (by D' Arey Wentworth Thompson), and have
discovered such fertile ground there that we've decided to open our ongoing dialogue to the
larger community in the form of a weekly Zoom class sponsored by the church: Is Mysticism
Where Science, Art, and Religion Meet?, currently attended by about a dozen participants from
around the world via Zoom. The class website is http://www.alephtalks.com. Our next
installment will introduce the collected 25-year cor­respondence between C.G. Jung and Austrian
Physicist Wolfgang Pauli - representing for us the climax of the course begun last October, and
just extended through the Summer months.
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In the past year, Bart has been deeply committed to our general well being, and we have become
a family. The only thing that ever competes with Bart's concern for my sister and me is his
concern for his troubled but very likeable adult son, who we have also grown fond of. We hope
for the best for Emil, often stretching our limited resources even further for his current needs, and
he helps us in numerous ways in turn.
Bart's patience with my ongoing health and other issues is equaled only by his generosity with
the limited resources at his disposal while we all await the financial recovery he anticipates
delivering the delayed return of his investors' capital at the very least, as well as delivering us all
from the grinding oppression of the poverty we are currently enduring in the face of the
Pandemic economy.
However, in the past year we have created a happy, full, and meaningful life together - of shared
daily meditation and related studies, preparations for our beloved joint class, other Zoom
activities at our church, and yoga and other spiritual classes, cooking together, visits with Emil
and my brother, and daily walks on the beach, all of which have enriched our lives beyond
anything that millions could ever buy. Bart still rehearses and performs with three choirs for our
church's online services and continues to raise funds for the church's needed repairs and
technical expansion into remote broadcasts. He also serves on the Membership Committee and
the "Annual Fund" Committee, chairs the "Partner Church" Committee, and is considered to be a
true Church Elder, albeit one with a confusing profile that does not match our experience of him.
Rather than feeling deprived, afraid, and isolated in the past year, my sister and I are grateful that
we have been blessed and enriched by Bart's and Emil's positive and supportive presence in our
lives, which are so much more stable, and just happier, because of both of them.
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                     EXHIBIT
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                                                   Emil Stuck

                                              Norwalk CT 06851

                                                  12 May 2021

To Whom It May Concern

My name is Emil Stuck, my father is Bart Stuck. I was born in Shumen Bulgaria on 15 February 1990, and
when l was two and a half years old 1 was put into an orphanage with the breakup of my parents marriage. In
June 1998 I was formally adopted by Bart Stuck and his then wife Mary-Jane Cross, and [ became a US citizen
shortly thereafter.

[ grew up in Westport CT, attended a Montessori school until I completed sixth grade, and then attended public
schools, graduating in June 2008 from Staples High School in Westport CT. My parents joined the Unitarian
Church in Westport and placed me in the youth faith formation program which I attended until I was fourteen.
This led my father to find his own spiritual path within and beyond the Unitarian faith and for this he is very
grateful; we continue to share spiritual interests.

My father got me engaged with Cub Scouts and Boy Scouts, taught me to ride a bicycle, taught me to shoot
basketballs, and introduced me to baseball through eight seasons of Little League in Westport.

My parents took me on a variety of vacations, hiking in the White Mouintains in New Hampshire, snow skiing
and snow boarding in Utah, a dude horse ranch in Colorado, and visiting friends and family in Connecticut, New
York, New Jersey, Massachusetts, New Hampshire, Maine, Pennsylvania, Washington, Colorado, Utah, Arizona,
California, Hawaii, St Martin and Bulgaria.

I attended three semesters of college at Gateway Community College in New Haven CT with financial support
from my parents, and then dropped out.

I had significant trauma from the orphanage in Bulgaria, and this in part led to me getting engaged with friends
that had similar issues while in middle school and high school, and I got involved with both alcohol and drugs
and the US legal system (police, courts,jails).

I have now finished all ofmy legal obligations and intend to get on with my life. My father, Bart Stuck, was
always there for me throughout all of my legal issues in every hearing, and helped me to work through my
mental and psychological trauma issues. He has created a trust fund for me secured by a life insurance policy in
his name.

I did not ask to come to the United States, but l believe my life would have been much less happy and diverse if
[ stayed in Bulgaria. I am grateful to my father for helping me to overcome my mental and legal issues here. I
remember he said that he has no regrets about my adoption, that I Emil exposed him to a part of life in the
United States he was not familiar with, seeing people that have mental or physical health issues and how the
legal and medical systems deal with them, and he thanks me for this.

You~truly,   ~                   ~

Emn wmirun stu,k     s-/~/
